                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
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STERLING D. BROWN,
           Plaintiff,
v.                                                   Civil Action No. 2:18-cv-922

City of Milwaukee, et al.
              Defendants.
______________________________________________________________________________

   PLAINTIFF’S NOTICE OF MOTION AND MOTION TO STRIKE RULE 68 OFFER OF
                               JUDGMENT


        Now comes the PLAINTIFF, Sterling Brown, by and through his attorneys, GINGRAS,

THOMSEN & WACHS LLP, and moves this court for an order striking the Defendants’ Rule 68

offer of judgment. The reasons for this motion are set forth in detail in the accompanying brief and

affidavit.

                                          CONCLUSION

For the foregoing reasons, Plaintiff respectfully requests that the Defendant’s Offer of Judgment

be stricken, or otherwise ordered invalid under this Court’s inherent authority.

        Dated at Milwaukee, Wisconsin this 8th day of October, 2019.

                                              Respectfully Submitted:

                                              GINGRAS, THOMSEN & WACHS, LLP

                                               /s/ Mark L. Thomsen
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